Case 3:06-cr-30046-DRH     Document 53     Filed 10/17/06   Page 1 of 1   Page ID #112




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,

       Plaintiff,

 v.

 ORAND L. COLLINS,

       Defendant.                                       Case No. 06-cr-30046-DRH

                                       ORDER

 HERNDON, District Judge:

              Before the Court is defendant Orand L. Collins’s Third Motion to

 Continue Sentencing (Doc. 51) until a date after November 17, 2006. The reasons

 for requesting the continuance are: (1) the Assistant United States Attorney assigned

 to this case will be unavailable because she has jury duty that day (and therefore

 joins in this Motion), and (2) Defendant’s family will be unable to attend the

 sentencing hearing as currently scheduled as they are in Nebraska to tend to

 Defendant’s sick grandmother and will not return home until November 17, 2006.

 The Court hereby GRANTS the continuance. The sentencing hearing for defendant

 Orand L. Collins is hereby rescheduled for Friday, December 8, 2006 at 2:30 p.m.

              IT IS SO ORDERED.

              Signed this 17th day of October, 2006.

                                                       /s/       David RHerndon
                                                       United States District Judge
